                               UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NORTH CAROLINA
                                   CHARLOTTE DIVISION
                              DOCKET NO. 3:16-cr-00013-MOC-DCK

 UNITED STATES OF AMERICA,                    )
                                              )
                                              )
                                              )
 Vs.                                          )                      ORDER
                                              )
 JAMES LAMONT WALKER,                         )
                                              )
                  Defendant.                  )



       THIS MATTER is before the court on the government’s Motion to Dismiss Count Two

Without Prejudice as to Defendant Walker. Counsel for the government is reminded that every

motion must be accompanied by a certificate of service, even when the motion is favorable to a

defendant. Having considered the government’s motion and reviewed the pleadings, the court

enters the following Order.

                                         ORDER

       IT IS, THEREFORE, ORDERED that the government’s Motion to Dismiss Count Two

Without Prejudice as to Defendant Walker (#138) is GRANTED, and Count Two is

DISMISSED as to Defendant Walker without prejudice.




 Signed: February 5, 2016




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